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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

MIKHAIL FRIDMAN, PETR AVEN, and
GERMAN KHAN,

Plaintiffs,
v. Civil Action No. 1:17-2041-RJL

BEAN LLC a/k/a FUSION GPS, and GLENN
SIMPSON,

Defendants.

 

 

DECLARATION OF ALEX ROLF VAN DER ZWAAN IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AN ORDER TO SHOW CAUSE WHY DEFENDANTS’
COUNSEL SHOULD NOT BE SANCTIONED FOR THEIR BACK-CHANNEL
OUTREACH TO PLAINTIFFS DESPITE KNOWING PLAINTIFFS ARE
REPRESENTED BY COUNSEL IN THIS CASE

I, Alex Rolf van der Zwaan, declare under penalty of perjury as follows:

1. My name is Alex Rolf van der Zwaan. I am over the age of 18, of sound mind, and
make this Declaration on personal knowledge. I submit this Declaration in support of Plaintiffs’
Motion for an Order to Show Cause Why Defendants’ Counsel Should Not Be Sanctioned for
Their Back-Channel Outreach to Plaintiffs Despite Knowing Plaintiffs Are Represented by
Counsel in This Case.

2. German Khan, one of the Plaintiffs in the above-captioned lawsuit, is my father-in-
law.

3. On April 8, 2021, I received a telephone call (via “WhatsApp”) from William (Bill)

Taylor, a lawyer and partner in the law firm Zuckerman Spaeder LLP.
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4, During that phone call, Mr. Taylor indicated that he represents Fusion GPS and was
calling about the above-captioned lawsuit in which German Khan (my father-in-law) is a Plaintiff
and Fusion GPS and its principal Glenn Simpson are Defendants. Mr. Taylor made clear that he
was contacting me on behalf of Defendant Fusion GPS. I understood the contact to be on behalf
of Defendant Simpson as well.

5. During that telephone call, Mr. Taylor made a settlement overture to me that he
asked me to convey to my father-in-law. Mr. Taylor told me that “I know you are savvy” and
stated that he felt there was “an opportunity at the moment to have a meaningful discussion” about
settling the case before discovery allowed each side a look at the other’s “internals,” which he said
would not be a “healthy thing for anybody.” Mr. Taylor suggested that “it would be helpful” if I
conveyed to my father-in-law that it would (according to Mr. Taylor) be in everyone’s interests to
reach an agreement to end the litigation.

6. During that telephone call, Mr. Taylor also told me that attorney Joshua Levy (who
I understand is a partner in the law firm Levy Firestone Muse LLP) is currently representing
Defendants in the above-captioned case.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct.

Executed on July 8, 2021

 

Alex vender Zwaan

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